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               UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION


IN RE:                                  CASE NO: 19-30106-KKS
                                        CHAPTER 7
CARL DANIEL SIMS,

     Debtor(s),
_____________________________________/

              ORDER GRANTING MOTION TO SELL
           REAL PROPERTY FREE AND CLEAR OF LIENS,
            ENCUMBRANCES AND INTERESTS (Doc. 37)

      UPON CONSIDERATION of the Motion to Sell Real Property

Free and Clear of Liens, Encumbrances and Interests (Doc. 37),

Trustee filing her Notice of Intent to Sell Real Property (Doc. 36) with

a twenty-one day negative notice, the motion and notice were served,

a response was filed by Secured Creditor Michigan Mutual, Inc. (Doc.

42), and a hearing was held on 12/18/2019. The Court has determined

that the relief sought in the Motion should be granted and as further

evidenced by the Notice of Intent to Sell Real Property of the Estate, it

is,

      ORDERED, as follows:

      1.     The Motion is GRANTED and the Notice of Intent to Sell is


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APPROVED.

      2.     The Trustee is authorized to sell the Property, located at

512 Decatur Ave, Pensacola Florida 32507, identified as Escambia

County Parcel I.D. no. 35-2S-31-1000-003-103              and     described

as:

      LOTS 3 AND 4, BLOCK 103, BEACH HAVEN, A SUBDIVISION
      OF A PORTION OF SECTION 54, TOWNSHIP 2 SOUTH,
      RANGE 30 WEST, AND OF SECTION 35, TOWNSHIP 2
      SOUTH, RANGE 31 WEST, ESCABMIA COUNTY, FLORIDA,
      ACCORDING TO THE PLAT THEREOF RECORDED IN DEED
      BOOK 46 AT PAGE 51, OF THE PUBLIC RECORDS OF SAID
      COUNTY
free and clear of all liens, encumbrances, or interests of any party,

including that of Michigan Mutual, Inc., pursuant to those terms

identified in the Notice of Intent to Sell and an updated short sale letter

from Michigan Mutual, Inc., for the price of $130,000.00 to the current

purchaser; and it is further

      3.     The Trustee is authorized to take any and all actions and

to execute any and all documents necessary and appropriate to

effectuate and consummate the terms of said sale of the Property free

and clear of all liens, encumbrances, or interests, including without

limitation, executing a deed conveying the interests of the Debtors, or




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any other party claiming an interest in the Property, to the current

purchaser.

     4.      The Trustee is authorized to pay certain expenses from the

proceeds of the sale and that the proceeds shall be disbursed in the

following manner:

             a. Payoff to First Mortgage Holder, Michigan Mutual,

               Inc. estimated to be $116,993.30 but to be updated

               and paid in full pursuant to a current payoff letter at

               the date of the sale.

             b. Brokerage Fees (6% of the sales price) - $7,800.00

             c. Documentary Stamps - $910.00

             d. Record motion to sell Order - $100.00

             e. Homeowner’s Association Lien est. - $2,000.00

             f. Municipal lien search $400.00

             g. Title Owner’s policy $34.00

             h. The Estate will receive a buyer’s premium of

               $5,000.00

     5.      The Trustee upon execution and closing of the sale, shall

deposit the net proceeds into the estate to be administered by the


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Trustee on behalf of the unsecured creditors in accordance with

Bankruptcy procedure.

                          December 23, 2019
      DONE AND ORDERED on _______________.




                                       ___________________________
                                       Karen K. Specie
                                       Chief U.S. Bankruptcy Judge

Order Prepared by:
Mary W. Colón, Esq.

Trustee Mary Colón is directed to serve a copy of this order on
interested parties and file a proof of service within three (3) days of
entry of the order.




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